           CASE 0:21-mc-00064-WMW Doc. 2 Filed 10/06/21 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Gamada A. Hussein,                                         Case No. 21-mc-0064 (WMW)

                           Plaintiff,
                                                                ORDER
      v.

Merrick Garland, U.S. Attorney General,
et al.,

                           Defendants.


      This matter is before the Court on Plaintiff Gamada A. Hussein’s request for

authorization to file a new civil action. (Dkt. 1.) Hussein is restricted from filing new

cases in this District unless he is represented by counsel or receives prior written

authorization from a judicial officer of this District. See Gamada v. Whitaker, No. 19-cv-

0292 (JRT/HB), Dkt. 37 (D. Minn. Sept. 18, 2019). Upon review, the Court concludes

that Hussein’s proposed civil action lacks an arguable basis in either fact or law and,

therefore, is frivolous. See Neitzke v. Williams, 490 U.S. 319, 325 (1989); Coppedge v.

United States, 369 U.S. 438, 444–45 (1962). Accordingly, the request for authorization

is denied and this proceeding shall be closed. The Court also certifies that any appeal

taken from this denial would not be in good faith and, therefore, any request to proceed in

forma pauperis on appeal will be denied on that basis. See Fed. R. App. P. 24(a)(3)(A).

       LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: October 6, 2021                                 s/Wilhelmina M. Wright
                                                       Wilhelmina M. Wright
                                                       United States District Judge
